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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ALENA KRILEY, Case No.: 1:22-cv-04832
Plaintiff,
vs PLAINTIFF’S REPLY MEMORANDUM
° OF LAW IN SUPPORT OF SUMMARY
KRII JUDGMENT
PAUL EY JUDGE: HON. MARTHA M. PACOLD
Defendant. MAGISTRATE: JEFFREY COLE
ORAL ARGUMENT REQUESTED

PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
SUMMARY JUDGMENT

Pursuant to Federal Rule of Civil Procedure 56 and LR 56.1 (c), Plaintiff Alena Kriley, by her
attorney, Scott T. Ferrill, files this REPLY MEMORANDUM OF LAW IN SUPPORT OF SUM-
MARY JUDGMENT.

DEFENDANT HAS, FOR THE SECOND TIME, FAILED TO COMPLY
WITH LR 56.1 (b) (3)

1. Defendant, in his Response to the Motion For Summary Judgment attempts to assert nu-
merous assumably material facts, which were not set forth in either the LR 56.1(a)(2) statement or
the LR 56.1(b)(2) response, without providing a statement of additional material facts that com-
plies with LR 56.1(d), and all such facts should be disregarded by the Court.

2. Defendant attaches an Exhibit List containing 6 Exhibits which are not cited to in either
his response as provided by LR 56.1(b)(2) or in his statement of additional material facts (there is
none) as provided by LR 56. 1(b)(3) and should be disregarded by the Court.

3. Defendant, for the second time in this case, (See [67] ) makes several allegations

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without any support or citation to the record [83].
4. Defendant has failed to provide any affidavit or declaration denying the asserted mate-
nal facts by plaintiff and has failed to raise any genuine dispute as to any material fact [83] and

plaintiff movant is entitled to summary Judgment as a matter of law pursuant to FRCP 56(a).

DEFENDANT’S FOUR DENIALS OF MATERIAL FACT ARE INSUFF ICIENT AND
SHOULD BE ADMITTED

1. Defendant has attempted to deny Movant’s Facts Nos. 10, 13, 16, and 17 [83] but are
insufficient denials and should be deemed admitted.

2. Movant’s Fact 10 regarding 40 hours of coverage under the Social Security Act (10
years (40 credible quarters)) of working Social Security coverage is one of the events terminating
the Defendant’s obligation of support to Plaintiff under 1-864 and was denied by Defendant with-
out providing any cited evidence by claiming falsely and without evidence that Plaintiff has not
fully disclosed discovery nor answered how she has been able to support herself for the last five
years (approximate time of the parties’ separation). Defendant has failed to show by affidavit or
declaration as provided by FRCP 56(d) which is required when facts are unavailable to non-mo-
vant. Additionally, Defendant failed to comply with LR 56.1(e}(3) by not citing specific eviden-
tiary material that controverts Fact 10.

3. Defendant denied the movant’s Fact 13 by stating he has lack of knowledge as to
whether the Plaintiff departed the country in the last five years. Defendant has admitted [Fact 6 of
83] that Plaintiff is a lawful permanent resident and one of the terminating events of Defendant’s I-
864 obligations is “No longer has lawful permanent resident status and has departed the United
States.” Defendant has failed to show by affidavit or declaration as provided by FRCP 56(d)

which is required when facts are unavailable to non-movant. Additionally, Defendant failed to

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comply with LR 56.1(e)(3) by not citing specific evidentiary material that controverts Fact 13.

4. Nonmovant’s Response to Movant’s Fact 16 was denied by Defendant without provid-
ing any cited evidence by claiming falsely and without evidence that Plaintiff has not fully dis-
closed discovery nor answered how she has been able to support herself for the last five years (ap-
proximate time of the parties’ separation). Defendant has failed to show by affidavit or declaration
as provided by FRCP 56(d) which is required when facts are unavailable to non-movant. Addi-
tionally, Defendant failed to comply with LR 56, 1(e)(3) by not citing specific evidentiary material
that controverts Fact 16.

5. Lastly, Defendant denies Plaintiff has incurred costs of collection, including attorney
fees without citing any evidentiary material supporting his denial but rather stating, “Plaintiff has
not attached proof of payment of legal fees.” Defendant incorrectly believes payment of legal fees
is required for them to be incurred. Defendant provides no support for this novel theory. It is ap-
parent that all legal documents filed for Plaintiff in this case have been filed by Ferrill Law Firm,
including this one. In any event if judgment is entered in this cause Plaintiff is granted 14 days to
file a claim for attorney’s fees and nontaxable expenses pursuant to FRCP 54(d)(2)(B)(i).

REPLY TO NONMOVANT’S ARGUMENT AND ANALYSIS
1. The Defendant argues first that summary judgment cannot be granted because he has put

forward multiple affirmative defenses that have yet to be resolved. However, the Plaintiff has filed
a Motion To Strike Affirmative Defenses, which has been fully briefed, Motion [31] Response [36}
and Reply [37], none of the Affirmative Defenses apply to this cause of action given the absolute
nature of the statute requiring Defendant, by agreed written contract, to support Plaintiff and the
various courts who have decided only those defenses or reasons for termination of support as stated
in the statute, apply to these cases.

2. The Defendant then claims Plaintiff has not mitigated damages by taking steps toward
becoming a United States citizen or working (coincidentally becoming a U.S. citizen and working

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40 quarters are terminating events for Defendant's 1-864 obligation). Defendant has provided no
statutory or case law authority that such mitigation of damages is required. Wenfang Liu v. Mund,
686 F.3d 418 (7th Cir. 2012) (holding that 1-864 beneficiaries have no duty to "mitigate damages"
by seeking employment). Belevich y. Thomas, 17 F 4th 1048 (11th Cir. 2021) (holding that contract
law defense are unavailable in action to enforce the Form 1-864). “One starts with the proposition,
already established in this case, see Doc. 109 at 1 1-15, that the immigrant has no duty to earn any
money and that the sponsor's obligation to the immigrant applies even if the immigrant sits around
and eats bonbons all day” Asilonu v. Okeiyi, 1:19-CV-1122, at *12-13 (M.D.N.C. May 15, 2023),

3. Next, the Defendant argues whether she is “actually disclosing income.” However, the
parties have completed discovery in this case and have conducted extensive discovery in the parties’
divorce case, including financial discovery, and the Plaintiff has provided evidence of substantial
loans and general assistance, all of which together easily explain how Plaintiff has survived, since
the parties separated, up to the present. The Defendant has presented no evidence that Plaintiff has
failed to disclose income. Defendant has broadly stated, “It is not readi ly apparent that the Plaintiff
is not currently supporting herself above the 125% guideline.” Clearly the Plaintiff has provided
evidence of not only credit card debt but numerous loans of small and large amounts. Defendant has
not argued or provided any evidence that such loan is “taxable income” for calculating 125% of the
Federal Poverty Guidelines level.

4. Defendant next argues his defenses as a matter of “public policy.” The Defendant states,
“this Court will ultimately need to factor the enforcement of Plaintiff's complaint with his ability to
support the minor child.” The Defendant cites no authority for his proposition. The Immigration and

Nationality Act (“INA”) prohibits the immigration of persons into this country who are determined

likely to become a public charge at any time. 8 U.S.C. § 1182(a)(4)(A). As part of this statutory
framework, Congress created Form I-864, which includes an Affidavit of Support (“Affidavit”).

Federal courts recognize that the purpose of Form I-864 is to prevent sponsored immigrants from
becoming dependent on taxpayers for support. See, ¢.g., Liu v. Mund, 686 F.3d 418, 422 (7th Cir.
2012). Sultana v. Hossain, 3:21-CV-1219-BK, at *1 (N.D. Tex. Sep. 8, 2022). Interestingly,
Defendant claims he will be unable to pay support given his $40,000.00 income per year [83] or
checking account assets $11,394.32 and a 401k of $60,864.35 as provided in his Financial Affidavit
dated 1 1/14/2024 [83].

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5. Lastly, in a closing paragraph, Defendant argue application of Kawai v. Uacearnaigh,
249 F. Supp. 3d 821 (D.S.C. 2017) and Yanguil v. Lee, 2014 WL 1400959, which have no bearing
on the issue in this case and which was brought previously by Defendant as his Sixth affirmative
defense in his Answer to Complaint (21]. Neither of the brought by Defendant cases apply to this
case and the issues were briefed in Plaintiff's Motion to Strike [31], Defendant’s Response to the
motion [36], Reply [37] and Motion For Summary Judgment [51], [57, [59].

6. The Yanguil v. Lee case deals with res judicata and does not apply to this case for the
following reason:

The 7" Circuit has defined res judicata as: “Res judicata, or claim of preclusion, bars any claim
that were litigated or could have been litigated in previous action when three requirements are met:
“(1) an identity of the causes of action; (2) an identity of the parties or their privies; and (3) a final
judgement on the merits.” Roboserve, Inc. v. Kato Kagaku Co., Ltd., 121 F.3d1027, 1034 (7° Cir.
1997)” Bell v. Taylor, 827 F.3d 699, 706 (7 Cir. 2016). “There are three requirements for res judi-
cata in Illinois: (1) a final judgement on the merits entered in the first lawsuit by a court of competent
Jurisdiction; (2) an identity of causes of action exists; (3) the parties or their privies are identical in
both lawsuits.” Doherty v. Fed. Deposit Ins. Corp., 932 F.3d 978, 983 (7" Cir. 2019). There can be
no res judicata in the instant case as there is no final judgement in the divorce case.

7. In Adams v. City of Indianapolis, 742 F.3d 720, 736 (7" Cir. 2014) citing Matrix IV, Inc.
v. American National Bank, 649 F.3d at 547 the Court found that lack of a final judgement in the
party's divorce case meant no application of res judicata, where in Yanguil v. Lee on which Defend-
ant relies, a Judgement of Divorce was entered in the Superior Court for the State of California.
Therefore, res judicata defense fails as third element for res Judicata is not met in this case.

8. Defendant also argues the Younger abstention doctrine set forth in Younger v. Harris,
401 U.S. 37 (1971) should be exercised in this case and relies on Kawai v. Uacearnaigh. Absent
extraordinary circumstances, the Younger doctrine requires federal courts to abstain from exercising
jurisdiction when doing so would interfere with pending state court proceedings, In determining
whether the doctrine applies, courts use a three prong test, asking whether: (1) “there are ongoing
State judicial proceedings”; 2) “the proceedings implicate important state interest”; and 3) "there is
an adequate opportunity to raise federal claims in the state proceedings.” Id. (citing Middlesex City
Ethics Comm. V. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982)).

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9. The Younger abstention doctrine is limited in scope and only applies in three classes of
cases: where federal jurisdiction would intrude into ongoing state criminal proceedings, or into cer-
tain civil enforcement proceedings (judicial or administrative) akin to criminal prosecutions, or into
civil proceedings “that implicates a State interest in enforcing the orders and judgements of its courts.”
Sprint Communications, Inc. v. Jacobs, -U.S. - , 134 8.Ct. 584, 588, 187 L.Ed.2d 5050 (2013).”
Mutholand y. Marion Cnty. Election Bd., 746 F.3d 81 1, 815 (7" Cir. 2014). Further, this court must
first determine whether the threshold of interference is present here. See, Montgomery v. Montgom-
ery, 764 F.Supp.2d 328, 333 D.N.H. 2011). This case would neither enjoin the state proceedings nor
have the practical effect of doing so. Plaintiff only seeks an award of support payable by Defendant,
past and future together with attorney’s fees and costs.

10. To date and for over 4 years since the start of the divorce proceedings , the active Cook
County divorce case has held no evidentiary hearing and no court orders or Judgement(s) have been
entered on the issue of maintenance, child support, alimony, spousal support, division of marital
assets or debts, child custody or any other matter involving financial issues. Therefore, judgement in
this court cannot implicate ‘State’s interest in enforcing the orders and judgements of its court” as
there are none. “Outside of the three “exceptional” Situations, the Younger abstention is not appro-
priate, even when there is a risk of litigating the same dispute in parallel and redundant state and
federal proceedings. /d at 591; Nader v, Keith, 385 F.3d 729, 732 (7" Cir.2004). (The problem posed
by parallel state and federal proceedings are managed under the narrowest abstention doctrine of
Colorado River Water Conservation Dist. V. United States, 424 U.S. 800, 96 S.Ct. 1236, 47 L.Ed.2d.
483 (1876). Which ordinary calls for a stay rather than dismissal when it applies but still prevents
duplication.)” Mulholland v. Marion Cnty. Election Bd., 746 F.3d 811, 816 (7" Cir. 2014).

11. This case differs from that of Kawai v. Uacearnaigh in that in the current pending di-
vorce case there is no duplicative or parallel to this action claims pending in the state divorce case.
The only court where an action to enforce the Affidavit of financial support under federal law is
pending is in this district court. Therefore, Colorado River doctrine is not applicable in this case.
Moreover, the Kawai court found “The parties have failed to provide any indication the Family Court
would avoid appropriately considering Plaintiffs claim for support under I-864 Affidavit” whereas
in this case the claim is not pending and when it was pending there was every indication that Plain-
tiff's claim was not and would not be promptly resolved.

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12. In the instant case Plaintiff raised her claim initially in state Court but the state Court
failed and refused to set her motion for hearing, her attorney withdrew, and she was forced to with-
draw her claim, as previously stated. Indeed, her state claim was pending from January 11, 2022, to
September 2, 2022, when she withdrew the federal I-864 claim, (See, Group Exhibit 1) after a pas-
sage of nearly nine months’ time, without even setting the matter for trial or hearing. There therefore
was no prompt resolution of her 1-864 claim in the state divorce court and when the court decided
the case is unknown other than it would never be promptly decided and never be promptly resolved.

13. The Supreme Court “has cautioned that abstention is appropriate only in ‘exceptional
circumstances’ and has also emphasized that federal courts have a ‘virtually unflagging obliga-
tion... to exercise the jurisdiction given to them.” AXA Corporate Solutions v. Underwriters Rein-
surance Corp., 347 F.3d 272, 278 (7" Cir. 2003) (internal citations omitted).

14. As Plaintiff argued in her previous filings, the instant case is closer to that of Truserv
Corp. v. Flegles, Inc., 419 F.3d 584 at 593 (7" Cir. 2005), “In the end, this case turns how seriously
we take the admonition from the Supreme Court not to stay or dismiss actions without strong justi-
fication to do so.” AXA, 347 F.3d at 279. We again emphasize the remarkably difficult standard that
must be met before we can refuse our “virtually unflagging obligation” to exercise jurisdiction. See
Colorado River, 424 U.S. at 817, 96 S.Ct. 1236; AAR, 250 F.3d at 520 (noting that “any doubt re-
garding the parallel nature of the [state court] suit should be resolved in favor of exercising jurisdic-
tion”). “If there is any substantial doubt that the parallel litigation will be an adequate vehicle for the
complete and prompt resolution (emphasis added) of the issues between the parties, it would be a
serious abuse of discretion for the district court to stay or dismiss a case in a deference to the parallel
litigation.” AAR, 250 F.3d at 518 (internal quotations omitted).

WHEREFORE, Plaintiff, ALENA KRILEY, by her attomey, Scott T. Ferrill, pray this Hon-
orable Court grant her motion for summary j udgment by entering an Order finding Defendant liable
to support Plaintiff pursuant to the Affidavit of Support contract and granting the relief requested in
Plaintiff's Motion for Summary Judgment.

ALENA KRILEY

BY: Scott T. Ferrill, her attorney
Scott T. Ferrill, Attorney

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Scott T. Ferrill

Attorney for Plaintiff

801 N. Cass Ave., Suite 200
Westmont, IL 60559

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chicagolaw@gmail.com
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GROUP EXHIBIT 1

To Plaintiff’s Reply to Defendant’s Response to Plaintiff’s Motion
for Summary Judgement:

- Order of Withdrawal of Count II (Count I! - Motion for Breach of
Contract |-864) of Alena’s Kriley Motion for Temporary Support
and Breach of Contract and for Contribution to Attorneys’ Fees
and Costs; (divorce case).

- Alena’s Kriley Motion for Temporary Support and Breach of
Contract and for Contribution to Attorneys’ Fees and Costs;

- Paul’s Kriley Response to Motion for Temporary Support and
Breach of Contract and for Contribution to Attorney’s Fees and
Costs, filed February 10, 2022 (divorce case).
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT — DOMESTIC RELATIONS DIVISION

IN RE: THE MARRIAGE OF: )
)
PAUL KRILEY, )
Petitioner, )
) No.: 2020 D 7036
)
-and- ) Cal.: 97
)
)
ALENA KRILEY, )
Respondent. )

ORDER OF RESPONDENT’S VOLUNTARY WITHDRAWAL

OF COUNT II_ OF MOTION FILED JANUARY 10, 2022
This Cause coming before the Court on Respondent’s, ALENA KRILEY’S Motion to

Withdraw, without prejudice, her Count IT (Count II — Motion for Breach of Contract) of the
Defendant’s Alena Kriley Motion for Temporary Support and Breach of Contract and for
Contribution to Attorneys’ Fees and Costs (filed on 01/10/2022), pursuant to General Order 13,
electronic notice having been given to Petitioner through his attorneys, Petitioner not having any
objection to the entry thereof, the Court having jurisdiction over the parties and the subject matter,

and the Court being fully advised in the premises.
IT IS HEREBY ORDERED THAT:

Respondent’s, ALENA KRILEY’S Motion to Withdraw her Count II (Count II — Motion
for Breach of Contract) of the Defendant’s Alena Kriley Motion for Temporary Support and
Breach of Contract and for Contribution to Attorneys’ Fees and Costs (filed on 01/ 10/2022),
without prejudice, is GRANTED.

ENTERED:
Prepared by: ENTERED
Respondent Alena Kriley, Pro SE. Judge Maritza Martinez-2131
Oak Park, Illinois 60301 RTINEZ
(872) 233-7746 CLERK OF THY GIRCUTT COURT
Respondent: fransevna@yahoo.com OF COOK COUNTY, Ih
Attorney for Petitioner: /Mari
deanotaradash33@gmail.com Dieta Marines a

GAL: michael@mllfamilylaw.com Judge Maritza Martinez Judge’s No.
Case: 1:22-cv-04832 Document #: 84 Filed: 02/13/25 Page 11 of 21 PagelD #:682

All Domestic Relations cases will be heard by phone or video.
Go to hitp:/Avww.cookcountycourt.org/LinkClick.aspx?fileticket=G7A8KACcSIBE% 3d&portalid=0
to get more information and Zoom Meeting iDs.

FILED DATE: 1/10/2022 2:20 PM 20200007036

FILED

1/10/2022 2:20 PM
IRIS Y. MARTINEZ
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS CIRCUIT CLERK
COUNTY DEPARTMENT - DOMESTIC RELATIONS DIVISION COOK COUNTY, IL

FIRST MUNICIPAL DISTRICT —- DALEY CENTER, CHICAGO —-2020D007036

Calendar, 97
IN RE THE MARRIAGE OF: 16231387
PAUL KRILEY, )
Plaintiff, )
)
vs. } No. 2020 D 007036
) Calendar 97
ALINA KRILEY, )
Defendant. )

MOTION FOR TEMPORARY SUPPORT AND BREACH OF CONTRACT AND FOR

CONTRIBUTION TO ATTORNEYS’ FEES AND COSTS

Now comes the Defendant, Alena Kriley (hereinafter referred to as “Alena”), by and through

her attomeys, OPAL O'BRIEN, LLC, and in support of this Motion Jor Temporary Support and Breach of

Contract and for Contribution to Attorneys’ Fees and Costs pursuant to 750 TLCS 5/501 and the Affidavit of

Support she states as follows:

COUNT I - MOTION FOR TEMPORARY SUPPORT
Paul Kriley (hereinafter referred to as “Paul”) has filed his Petition for Dissolution of Marriage.
Said Petition remains pending and undetermined at this time.
The parties have one child, J.K., born in 2019.
Upon information and belief, Paul is gainfully employed, and fully capable of contributing to
Alena’s financial obligations, Paul has the financial ability to earn substantial income. Alena
has no such ability. Paul has an education, and work experience which enables him to earn
substantial income.
Alena is presently unemployed.
Alena is an immigrant from Belarus. Alena has limited English proficiency. She has no
education in USA. The book of her work experience from her country is still withheld from

her by Paul Kriley. It cannot be re-issued in the country of her origin. She also has medical
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issues which impair her ability to work. Alena was coerced into a late abortion by her husband.
Two (2) permanent metal stents were implanted into her pelvis which cause her constant pain,
and impair her ability to work. Her physical health has been damaged and she does not have
the physical ability to earn income. Upon information and belief, Paul is in good health, has
no medical issues, and has the physical ability to work full-time.

6. Alena’s current expenses include rent, transportation, food, cell phone bills, other reasonable
living expenses, medical and dental bills and costs associated with keeping her embryos alive.
Alena is currently getting psychological help for severe trauma of domestic violence that she
has endured, and it is no cost at a domestic violence agency. She is also in need of medical
assistance due to the severe trauma from the late abortion. It is impossible to find such help
at no cost. She also was not able to find a provider in network with her insurance plan. She
found a psychologist out of network but cannot afford to pay for this out-of-pocket. She also
needs help dealing with her separation anxiety due to the fact that she cannot see her own son.
She needs money to fix her car as well.

7. Additionally, in September of 2020, Alena found documents related to her immigration case
that were apparently in the possession of Paul. Paul failed to tell Alena about these documents
(requesting that Alena come in for fingerprints). The letter was sent out in the summer of
2019. Paul did not tell Alena about this letter. If Alena had went for fingerprints in summer
of 2019 upon information and belief, she could have received her US citizenship before Paul
filed his Petition for Dissolution of Marriage. Not showing up for the fingerprints and the
filed Petition for Dissolution of Marriage (filed by Paul) significantly complicated and delayed
her immigration process and she is in dire need of professional help and needs an immigration

attorney. She was quoted retainers from $3,500.00 to $7,500.00 by immigration attomeys.

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Alena does not currently qualify for public benefits. She was also advised by an immigration
attorney against getting on public benefits since that may preclude her from getting citizenship.
Alena has significant debt as seen on her Financial Affidavit, which is incorporated herein by
reference,
Alena needs money to pay for experts in this divorce case.
Alena has no ability to apply for loans or credit cards because she already owes significant
amounts of money to banks and her credit score went from 800 to around 400.
Alena is one hundred percent dependent upon Paul for her financial support.
Alena has no independent means to pay her bills.
WHEREFORE, the Defendant, Alena Kriley, respectfully prays for the following relief:
For an Order requiring Paul Kriley to pay Alena Kriley temporary monthly support in an
amount that will allow her to pay her rent, transportation costs, food costs, other reasonable
living expenses, medical and dental costs and the cost of keeping her embryos alive;
For such other relief as the Court may deem equitable and just.

COUNT II - MOTION FOR BREACH OF CONTRACT
Alena restates paragraphs 1-13 of COUNT I as paragraphs 1-13 of this COUNT II.
Alena became a permanent resident of the United States based on her marriage to Paul.
Paul signed an 1-864 immigration affidavit in which he promised to maintain Alena at 125%
of the Federal Poverty Level. A copy of said Affidavit can be provided to the Court upon
request.
There are two (2) components to 1-864; support arrcarages and future support.
Alena and Paul have not lived together since September 28, 2020. She has not received any
financial support from Paul since September 28, 2020. As such, Paul should pay Alena

financial support from September 28, 2020 going forward to present. Alena is also entitled to

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future support under her 1-864 claim. Upon information and belief, both the contract itself
and the Immigration and Nationality Act authorize an attorney fee award for sponsored
immigrants.
The purpose of the 1-864 Affidavit of Support is to preclude admission to the United States
of any alien who is likely at any time to become a public charge. See Bychina v. Asirakhantsev,
2021 Ul. App.2d 200303 (2™ Dist. 2021).
Our divorce Courts are required to consider this breach of contract in pending divorce
proceedings. See Bychina v. Astrakhantsev, 2021 Ill_App.2d 200303 (2™ Dist. 2021).
Furthermote, in the Bychnia case, the Second District Court of Appeals reversed the Trial
Coutrt’s decision declining to rule on the merits of petitioner’s breach of contract claim with
regard to an Affidavit of Support from an immigration case. See In re Marriage of Bychina, 2021
IL App (2d) 200303. In Bychina, the higher Court held “Respondent’s obligations under the
Affidavit of support are separate from any obligations, such as maintenance, he may have
under Illinois divorce law.” See Id. As such, the Bychina Court held that the petitioner’s breach
of contract claim with respect to the Affidavit of Support should have been heard by the Trial
Court (in State, not Fedcral Court).
Alena is a third-party beneficiary of the 1-684 Affidavit and contract between Paul and the
United States.
Paul has violated his contractual obligations to Alena by failing to provide her with support at
a level consistent with no less than 125% of the Federal Poverty Level.

WHEREFORE, the Defendant, Alena Kriley, respectfully prays for the following relief:

For an Order requiring Paul Ktiley to maintain Alena Kriley according to her needs, but no less

than at the minimum level of 125% the current poverty guidelines;

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For an Order for retroactive support going back to September 28, 2020 payable from Paul to
Alena;

To award attorneys’ fees for litigation of the I-864 claim;

To award expert fees and costs;

For such other relief as the Court may deem equitable and just.

COUNT III - MOTION FOR PROSPECTIVE FEES

Alena restates paragraphs 1-122 of COUNT II as paragraphs 1-122 of this COUNT III.
Alena has paid OPAL O'BRIEN LLC $15,000.00 in attorney fees.
Alena has already spent approximately $12,500.00 in attorney fees, leaving her only $2,500.00
to fund the remainder of this litigation.
Alena had to borrow the original retainer from family and has no means to repay this debt or
to pay any additional attorney fees and costs in this matter.
Upon info and belief, Paul Kriley has the means to contribute towards Alena’s attorney fees.
Alena lacks the ability to pay additional attorneys’ fees and costs in this matter. She is
unemployed, and has no earning potential.
The attorneys’ fees and costs incurred by Alena to date were fair, reasonable, and necessary.
This is a complex case involving an Affidavit of Support issue, parenting issues, a 215
evaluation, and the like. Substantial discovery still needs to be done. The case will presumably
have to be tried. Substantial prospective attorneys’ fees and costs will be needed in a case like
this. Alena lacks the ability to pay for these prospective fees and costs.
The affidavit of Alena is attached hercto and incorporated hercin as Exhibit A.
Alena has provided an updated Financial Affidavit which can be supplicd to the Court upon

request.

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WHEREFORE, the Defendant, Alena Kriley, respectfully prays for the following relief:
A. For an Order requiring Paul Kriley to pay Alena Kriley $15,000 in interim and prospective
attomey fees;
B. To award expert fees and costs; and
C. For such other relief as the Court may deem equitable and just.
Respectfully submitted,

Alcna Kriley ‘Jan 10, 2022 15.1551) _

ALENA KRILEY

OPAL O’BRIEN LLC

iL

Joe O'Brien (Jan 19, 2922 13:20 CST}

Attorney for Defendant

VERIFICATION

Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure,
the undersigned certifies that the statements sct forth in this instrument arc true and correct, except
as to matters therein stated to be on information and belief and as to such matters the undersigned
certifies as aforesaid that she verily belicves same to be truc.

Alena Kriley "Jan 19,2922 43:17 CST)

ALENA KRILEY

Joseph P. O’Brien

joe@opalobrien.com

OPAL O'BRIEN LLC #59789

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(630) 384-0165

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FILED
2/10/2022 1:53 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOJBS!IS Y. MARTINEZ

COUNTY DEPARTMENT — DOMESTIC RELATIONS DIVISION Su IL

20200007036
IN RE THE MARRIAGE OF: ) Calendar, 97
) 16661409
PAUL KRILEY, )
Petitioner, )
-and- ) No.: 2020 D 7036
)
ALENA KRILEY, ) Cal.; 97
Respondent. )

RESPONSE TO MOTION FOR TEMPORARY SUPPORT AND BREACH OF
CONTRACT AND FOR CONTRIBUTION TO ATTORNEYS’ FEES AND COSTS

NOW COMES THE PETITIONER, PAUL KRILEY, by and through his attommeys,
THE TARADASH GROUP, P.C. and as and for his Response to Motion for Temporary
Support and Breach of Contract and for Contribution to Attorneys’ Fees and Costs (hereinafter
MOTION), respectfully states unto this Honorable Court as follows:

COUNT I- MOTION FOR TEMPORARY SUPPORT

—

. That the Petitioner admits the allegations as set forth in paragraph one (1) of the
MOTION.
2, That the Petitioner admits the allegations as set forth in paragraph two (2) of the

MOTION.

Ww

That the Petitioner admits only that he is currently employed and has an education. That
the Petitioner denies the remaining allegations as set forth in paragraph three (3) of the

MOTION.

>

That the Petitoner lacks sufficient knowledge as to form a reasonable belicf as to the
allegations as set forth in paragraph four (4) of the MOTION and therefore denics the
same.

5. That the Petitioner admits only that Respondent is an immigrant from Belarus. That the
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IL.

12.

Petitioner denies the allegation that the Respondent has limited English proficiency. That
the Petitioner admits that the Respondent has no education in the United States but
affirmatively states that she received an education in Belarus. That the Petitioner admits
only that the Respondent had stent implanted into her pelvis. That the Petitioner denies
the remaining allegations as set forth in paragraph five (5) of the MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph six (6) of the MOTION and therefore denies the
same.

That the Petitioner denies the allegations as set forth in paragraph seven (7) of the
MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph eight (8) of the MOTION and therefore denies the
same.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph nine (9) of the MOTION and therefore denies the

samc.

. That the Petitioner denics the allegations as sct forth in paragraph ten (10) of the

MOTION.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph eleven (11) of the MOTION and therefore denies the
same.

That the Petitioner denies the allegations as set forth in paragraph twelve (12) of the

MOTION.
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13.

That the Petitioner denies the allegations as set forth in paragraph thirteen (13) of the

MOTION.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

A.

B.

14.

15.

16.

17.

18.

19.

20.

Denying the Motion; and

For any such further and other relief that this Honorable Court deems just and equitable.
COUNT II - MOTION FOR BREACH OF CONTRACT

1. No response necessary.

That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the

allegations as set forth in paragraph fourteen (14) of the MOTION and therefore denies

the same.

That the Petitioner admits the allegations as set forth in paragraph fifteen (15) of the

MOTION.

That the Petitioner admits the allegations as sct forth in paragraph sixtecn (16) of the

MOTION.

That the Petitioner admits only that Paul and Alena have not lived together since

September 2020. That the Petitioner denics the remaining allegations as sct forth in

paragraph seventcen (17) of the MOTION.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021

Il. App.2d 200303 (2"4 Dist. 2021) and denies the applicability in the instant matter.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021

Il_App.2d 200303 (2™ Dist. 2021) and denies the applicability in the instant matter.

That the Petitioner admits only that the Respondent cites Bychina v. Astrakhantseve, 2021

Ill.App.2d 200303 (2"4 Dist. 2021) and denies the applicability in the instant matter.
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21. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-one (2 1) of the MOTION and therefore
denies the same.

22. That the Petitioner denies the allegations as set forth in paragraph twenty-two (22) of the
MOTION.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

A. Denying the Motion; and

B. For any such further and other relief that this Honorable Court deems just and equitable.

COUNT III - MOTION FOR PRESPECTIVE FEES

1, No response necessary.

23. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-three (23) of the MOTION and therefore
denics the same.

24. That the Petitioner lacks sufficient knowledge as to form a reasonable belief as to the
allegations as set forth in paragraph twenty-four (24) of the MOTION and therefore
denics the samc.

25. Petitioner lacks sufficient knowledge as to form a reasonable belief as to the allegations
as set forth in paragraph twenty-five (25) of the MOTION and therefore denies the same.

26. That the Petitioner denies the allegations as set forth in paragraph twenty-six (26) of the
MOTION. That the Petitioner affirmatively states that he has caused to be paid to The
Taradash Group, P.C. the sum of $15,750.00 and has a current outstanding balance of
$5,908.67.

27. That the Petitioner denies the allegations as set forth in paragraph twenty-seven (27) of
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the MOTION.

28. That the Petitioner denies the allegations as set forth in paragraph twenty-eight (28) of the
MOTION.

29. That the Petitioner denies the allegations as set forth in paragraph twenty-nine (29) of the
MOTION.

30. That the Petitioner admits only that the Respondent attached an Exhibit to her Motion.

31. That the Petitioner admits only that the Respondent has completed her financial affidavit.

WHEREFORE, PETITIONER, PAUL KRILEY, respectfully prays as follows:

C. Denying the Motion; and

D. For any such further and other relief that this Honorable Court deems just and equitable.

THE TARADASH GROUP, P.C. Respectfully submitted,
Attorneys for Petitioner

180 N. LaSalle St. Ste. 3700
Chicago, IL 60601
312-775-1020

Atty. No.: 57943
meyer@chicagodivorceatty.com One of Petitiohgks Attorneys

